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                                                                Tuesday, 20 December, 2022 03:28:29 PM
                                                                            Clerk, U.S. District Court, ILCD




                ZOOM CONNECTION INFORMATION

                                         URBANA


Judge Long
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